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          13
                                           UNITED STATES DISTRICT COURT
          14
                                          NORTHERN DISTRICT OF CALIFORNIA
          15
                                                  SAN JOSE DIVISION
          16
               MATT JONES; BRYSON DECHAMBEAU;                    Case No. 5:22-CV-04486-BLF (SVK)
          17   PETER UIHLEIN; and LIV GOLF, INC.,
                                                                 ADMINISTRATIVE MOTION TO
          18                Plaintiffs,                          CONSIDER WHETHER ANOTHER
                                                                 PARTY’S MATERIAL SHOULD BE
                    v.
          19                                                     SEALED
               PGA TOUR, INC.,
          20                                                     Judge:        Hon. Beth Labson Freeman
                            Defendant.
          21
                                                                 Date Filed:      August 3, 2022
          22   PGA TOUR, INC.,
                                                                 Trial Date:      January 8, 2024
          23                Counter-claimant,
                     v.
          24
               LIV GOLF, INC., THE PUBLIC
          25   INVESTMENT FUND OF THE KINGDOM
               OF SAUDI ARABIA, AND YASIR
          26   OTHMAN AL-RUMAYYAN,

          27                Counter-defendants.

          28

                ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE
                                                       SEALED
                                          Case No. 5:22-CV-04486-BLF (SVK)
2101876
      Case 5:22-cv-04486-BLF Document 321 Filed 03/10/23 Page 2 of 3



 1             Pursuant to Civil Local Rule 79-5(f) and the Protective Order entered by this Court, Dkt.

 2   111, Defendant/Counterclaimant PGA Tour, Inc. (“the TOUR”) respectfully submits this

 3   Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed,

 4   regarding portions of the TOUR’s Opposition to The Public Investment Fund of Saudi Arabia and

 5   Yasir Othman Al-Rumayyan’s Motion for Relief from Nondispositive Pretrial Order of

 6   Magistrate Judge (“Opposition”), filed concurrently herewith.

 7             Specifically, the document subject to this Administrative Motion include:

 8

 9                                                                               Party Claiming
                Document            Portions of Document to Be Sealed
10                                                                               Confidentiality

11
       TOUR’s Opposition to        Highlighted portions at:                  LIV Golf, Inc.
12     The Public Investment
       Fund of Saudi Arabia               Page 2:27-28
13     and Yasir Othman Al-
       Rumayyan’s Motion                  Page 3:1-2
14     for Relief from
       Nondispositive Pretrial            Page 3:10-14
15
       Order of Magistrate
16     Judge                              Page 3:16-19

17                                        Page 3:21-28

18                                        Page 4:4-7
19                                        Page 4:11-27
20                                        Page 5:1-10
21
                                          Page 7:13-14
22
                                          Page 10:17-18
23
                                          Page 10:21-23
24
                                          Page 10:26-27
25

26                                        Page 11:3-4

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      ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE
                                             SEALED
                                Case No. 5:22-CV-04486-BLF (SVK)
     2101876
      Case 5:22-cv-04486-BLF Document 321 Filed 03/10/23 Page 3 of 3



 1             The highlighted portions of the Opposition include references to documents produced by

 2   Plaintiff/Counterdefendant LIV Golf, Inc. that were designated as either “CONFIDENTIAL” or

 3   “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the applicable Protective Order,

 4   Dkt. 111, in this action.

 5             The TOUR does not have an interest in confidential treatment of the information

 6   contained in those exhibits or highlighted in yellow in its proposed redacted Opposition. The

 7   TOUR makes this request solely because LIV has designated this information as confidential

 8   under the applicable Protective Order. Nevertheless, in compliance with its Protective Order

 9   obligations and the Civil Local Rules of this District, the TOUR is submitting under seal, along

10   with this Administrative Motion, an unredacted copy of the document referenced above pursuant

11   to Civil Local Rules 79-5(d) and 79-5(e).

12
     Dated: March 10, 2023                                   KEKER, VAN NEST & PETERS LLP
13

14
                                                      By:    /s/ Elliot R. Peters
15                                                           ELLIOT R. PETERS
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19                                                           PGA TOUR, INC.

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26                                                           Claimant
                                                             PGA TOUR, INC.
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      ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE
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                                Case No. 5:22-CV-04486-BLF (SVK)
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